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 Southern District of New York
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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,
                                                            18 Civ. 5531
                               Plaintiff,
                                                            COMPLAINT
                 v.

ROGER GRAY, SHELLEY GRAY a/k/a
SHELLY GRAY, CENTER LINE STUDIOS,
KEYBANK NATIONAL ASSOCIATION,
NEW YORK STATE DEPARTMENT OF
TAXATION AND FINANCE,
COMMISSIONER OF TAXATION AND
FINANCE, WORKERS’ COMPENSATION
BOARD OF THE STATE OF NEW YORK,
WELLS FARGO BANK, N.A., A
NATIONAL BANKING ASSOCIATION,
and JOHN DOES 1 THROUGH 10,

                                Defendants.


        Plaintiff, United States of America (“the United States” or “the Government”), by and

 through its attorney, Geoffrey S. Berman, United States Attorney for the Southern District of New

 York, for its complaint herein alleges upon information and belief as follows:

                                            INTRODUCTION

        1.     This is an action brought by the United States to foreclose a mortgage on two

properties located in the Town of Cornwall, County of Orange and State of New York, within the

Southern District of New York: (1) one with the street address of 41 Meadowbrook Lane, New
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Windsor, NY 12553, and (2) one with the street address of 70 Meadowbrook Lane, New Windsor,

NY 12553 (the “Mortgaged Properties”).

                                     JURISDICTION AND VENUE

            2.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1345.

            3.      Venue is proper pursuant to 28 U.S.C. § 1391(b), in that the properties are

    located within the Southern District of New York.

                                             THE PARTIES

            4.      The United States is a sovereign government. The Small Business

    Administration (“SBA”) is an agency of the government of the United States. SBA provides

    low-interest disaster loans to businesses of all sizes, private non-profit organizations,

    homeowners, and renters. SBA disaster loans can be used to repair or replace the following

    items damaged or destroyed in a declared disaster: real estate, personal property, machinery

    and equipment, and inventory and business assets.

            5.      Roger Gray and Shelley Gray (“the Grays”) reside at 261 Otterkill Road, New

    Windsor, NY 12553, and are the fee owners and mortgagors of the Mortgaged Properties.

            6.      Center Line Studios (the “company”), located at 112 Forge Hill Road, New

    Windsor, NY 12553, is an interested party in this matter.

            7.      Keybank National Association, located at 66 South Pearl Street, Albany, NY

    12207, is named as a defendant herein because it is a potential judgment creditor and may

    have a claim against the Mortgaged Properties arising from a Judgment Upon Order entered

    July 19, 2017, in the Supreme Court of the State of New York, County of Orange, index

    number 2015-8128.

            8.      The New York State Department of Taxation and Finance, Commissioner of

    Taxation and Finance, located at WA Harriman Campus, Albany, New York 12227, is named

    as a defendant herein because it is a potential judgment creditor and may have a claim against

                                                         
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the Mortgaged Properties arising from tax assessments evidenced by Warrant ID E-

020395787-W003-4, Warrant ID E-120395787-W010-4, Warrant ID E-020395787-W004-8,

Warrant ID E-120395787-W011-8, Warrant ID E-020395787-W005-3, and Warrant ID E-

120395787-W014-2, filed with the Orange County Clerk with instrument numbers

20170016356, 20170016358, 20170067156, 20170067160, 20170089046, and 20170089047

respectively.

        9.      The Workers’ Compensation Board of the State of New York, located at

Workers’ Compensation Board, c/o James R. McGinn, Esq., 328 State St., Schenectady, NY

12305, is named as a defendant herein because it is a potential judgment creditor and may

have a claim against the Mortgaged Properties arising from a judgment entered on April 12,

2017, in the Supreme Court of the State of New York, County of Orange, judgment number

1865481, index number 002738-2017.

        10.     Wells Fargo Bank, N.A., A National Banking Association located at 100 West

Washington Street, Phoenix, Arizona 85003, is named as a defendant herein because it is a

potential judgment creditor and may have a claim against the Mortgaged Properties arising

from a judgment entered on December 7, 2017, in the Supreme Court of the State of New

York, County of Orange, index number EF002655-2017.

        11.     John Does Nos. 1-10 are persons or parties that may be in possession of,

having, or claiming an interest in or lien on the Mortgaged Properties.

                                FACTS AND CLAIMS FOR RELIEF

        12.     On or about March 23, 2002, Center Line Studios executed and delivered a

secured promissory note to SBA in the principal amount of $388,700.00, plus interest at the

rate of 4% annually (“the Note”).

        13.     On or about March 29, 2002, the Grays executed an Unconditional Guarantee

(the “Guarantee”) obligating them as guarantors of the Note. True and correct copies of the

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Note and Guarantee are attached hereto as Exhibit A.

        14.    The Note required Center Line Studios to pay the indebtedness evidenced by

the Note as provided therein. The Guarantee required the Grays to pay all amounts due under

the Note upon written demand from SBA.

        15.    On or about March 23, 2002, to secure payment of the Note, the Grays also

executed and delivered a real estate mortgage (“the Mortgage”) with the Note in favor of SBA

covering the Mortgaged Properties, described therein. The Mortgage was recorded on April

16, 2002, in the Orange County Clerk’s Office in the Book of Mortgages in Liber 9309 at

page 189. A true and correct copy of the Mortgage is attached hereto as Exhibit B.

        16.    The Mortgage required the Grays to promptly pay the indebtedness evidenced

by the Note at the times and in the manner therein provided, to pay all taxes, assessments,

water rates, and other governmental or municipal charges, fines, or impositions, as well as

such expenses and fees as may be incurred in the protection and maintenance of the

Mortgaged Properties, and to keep the Mortgaged Properties insured. The Mortgage further

provided that in the event of a default in making payments of encumbrances on the

Mortgaged Properties, the SBA was authorized to make such payments as advances for the

account. Pursuant to the terms of the Mortgage, such advances became part of the

indebtedness secured by the Mortgage.

        17.    On or about April 3, 2014, the indebtedness due under the Note was

accelerated for nonpayment. On that day, SBA mailed Center Line Studios a Notice of

Default and Acceleration of Promissory Note (the “Notice”). In the Notice, SBA advised

Center Line Studios that according to the terms of the promissory note, Center Line Studios

was required to pay $2,876.00 per month on the 23rd day of each month commencing March

23, 2002. The Notice also advised that Center Line Studios had failed to make the payments

that were due on January 23, 2014, and on the 23rd day of each subsequent month.

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        18.    Also on or about April 3, 2014, SBA mailed a Notice of Default &

Acceleration of Promissory Note – Demand for Payment as Guarantor of Promissory Note

(the “Guarantor Demand”). In the Guarantor Demand, SBA stated that the Note was in

default due to non-payment of monthly installments of $2,876.00, which became due on

January 23, 2014, and on the 23rd day of subsequent month. The Guarantor Demand further

provided that because of this default, the entire balance of the indebtedness was due and

payable, and that SBA was making demand upon the guarantor for payment of the entire

balance due. SBA mailed an updated Guarantor Demand on or about January 28, 2015. True

and correct copies of the April 3, 2014 Notice, the April 3, 2014 Guarantor Demand, and the

January 28, 2015 Guarantor Demand are attached hereto as Exhibit C.

        19.    Despite demands for payment, Center Line Studios failed to make the

installment payments required by the Note and the Mortgage, or otherwise make payments

sufficient to render the loan current. Further, the Grays failed to make payment as guarantors

of the Note for the balance due under the Note upon demand. On account of the Grays’ and

Center Line Studios’ default and failure to render payment, the entire outstanding balance of

principal and interest is now due.

        20.    As of May 4, 2018, the Grays were justly indebted to the United States on the

Note for the principal amount of $230,146.87, plus accrued interest in the amount of

$37,678.05. The total amount of the debt as of May 4, 2018, was $267,824.92. Interest

continues to accrue on the principal balance at a rate of $25.22 daily. A true and correct copy

of the Certificate of Indebtedness is attached hereto as Exhibit D.

        21.    In order to protect its security interest, the United States may be compelled,

during the pendency of this action, to pay taxes, assessments, water or sewer rates, water

charges, insurance premiums, and any other charges affecting the premises. The United States

requests that any sums so paid be added to the sum otherwise due, be deemed secured by the

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Mortgage, and adjudged a valid lien on the premises herein described.

             22.     No other action has been commenced at law or otherwise for the recovery of

the sum, or any part thereof, secured by the Note and Mortgage.

         WHEREFORE, plaintiff, the United States of America, respectfully requests that the

    Court:

                   (a) enter judgment holding the Grays in default on the Guarantee and Mortgage;

                   (c) adjudicate the amount due plaintiff on the Note/Guarantee and Mortgage;

                   (d) enter judgment ordering that the named defendants, and all other persons

                        whose claims are subsequent to or recorded after the filing of notice of

                        pendency of this action in the office of the Clerk of Orange County in the

                        State of New York, be forever barred and foreclosed from all right, title,

                        claim, lien, or other interest in the Mortgaged Properties;

                   (e) enter an order (1) directing the foreclosure and sale of the Mortgaged

                        Properties with the proceeds to be first applied to pay the liens of taxing

                        authorities entitled to priority, if any, and thereafter to amounts due

                        plaintiff under the Note/Guarantee and Mortgage, with interest to the date

                        of payment, plus costs and disbursements of this action, and (2) reserving

                        plaintiff’s right to collect any deficiency from the Grays; and

                   (f) order such further relief as the Court may deem just.




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    Dated: New York, New York
           June 19, 2018
                                            GEOFFREY S. BERMAN
                                            United States Attorney for the
                                            Southern District of New York

                                        By: /s/ Talia Kraemer
                                            TALIA KRAEMER
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New York District Office
26 Federal Plaza Room 3100
New York, NY 10278

               CERTIFICATE OF INDEBTEDNESS

NAME OF DEBTOR(S):           Roger Gray and Shelly Gray
ADDRESS OF DEBTOR(S):        261 Otterkill Rd, New Windsor, NY
AGENCY LOAN NUMBER:          5288584006


Total Debt Due to United States as of May 4, 2018: $267.824.92

I certify that the records of the SMALL BUSINESS ADMINISTRATION
(SBA) show that the debtors named above are indebted to the United States
in the principal amount of $230,146.87, plus interest in the amount of
$37,678.05 as of May 4, 2018 with interest accruing thereafter at the annual
rate of 4%. Interest accrues on the principal amount of this debt at a rate of
$25.22 per day.

The claim arose in connection with a loan that the SBA granted to Borrower
Center Line Studios on or about March 21, 2002 in the principal amount of
$388,700.00 evidenced by a Note executed by Borrower.

According to the terms of the promissory note, the debtor was required to
pay $2,876.00 per month on the 23rd day of each month commencing April
23, 2004. Debtor failed to make the payment that was due on March 23,
2014.

Pursuant to 28 U.S.C. § 1746, I certify under penalty of perjury that the
information above is a true and accurate statement as reflected in the
records of the Small Business Administration.



                                               Date: May 4, 2018
Diana St. Louis
District Counsel
